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22    KISELA and CARLOS GUTIERREZ, as employees of
23
      CITY OF ORANGE

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                     JOINT NOTICE OF CONDITIONAL SETTLEMENT
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 2                          UNITED STATES DISTRICT COURT
 3                        CENTRAL DISTRICT OF CALIFORNIA
 4

 5     THE ESTATE OF MICHAEL                           )   Case No: 8:18-cv-00028-JVS-
 6     ANTHONY PEREZ, and M.A.P., JESUZ                )   KES
       RAMIREZ, MONIQUE PEREZ, ERIKA                   )   Hon. James V. Selna
 7     EDITH PEREZ, Del.P., Da.P., Div.P., and         )
 8     D.M.                                            )   JOINT NOTICE OF
                                                       )   CONDITIONAL
 9                  Plaintiffs,                        )   SETTLEMENT
10                                                     )
                    v.                                 )   HEARING DATES PENDING:
11
                                                       )
12     CITY OF ORANGE, THOMAS KISELA,                  )   Type: Pretrial Conference
       CARLOS GUTIERREZ, and DOES 1                    )   Date: June 17, 2019
13                                                         Time: 11:00 a.m.
       through 10, inclusive,                          )
14                                                     )
                    Defendants.                        )   Type: Trial
15                                                         Date: July 9, 2019
                                                       )
16                                                     )   Time: 8:30 a.m.
       _________________________________               )
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      TO THE HONORABLE COURT:

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            Plaintiffs THE ESTATE OF MICHAEL ANTHONY PEREZ, M.A.P.,

22
      JESUZ RAMIREZ, ERIKA EDITH PEREZ, Del.P., Da.P., Div.P., and D.M. and

23
      Defendants CITY OF ORANGE, THOMAS KISELA, and CARLOS GUTIERREZ

24
      respectfully submit this Joint Notice of Conditional Settlement, and inform the Court

25
      as follows:

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            1. Plaintiffs M.A.P., JESUZ RAMIREZ, ERIKA EDITH PEREZ, Del.P.,

27
               Da.P., Div.P., and D.M. and Defendants CITY OF ORANGE, THOMAS

28
               KISELA, and CARLOS GUTIERREZ (collectively, “the settling parties”)

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                         JOINT NOTICE OF CONDITIONAL SETTLEMENT
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 1             have reached a conditional settlement in the above-referenced case to
 2             resolve all claims among them.
 3          2. The only remaining Plaintiff in the above-referenced case is the pro-se
 4             Plaintiff MONIQUE PEREZ, whom the Court ordered to appear within
 5             thirty (30) days of February 14, 2019. Docket No. 70.
 6          3. These settling parties have not received notification of Plaintiff Monique
 7             Perez’s appearance and the docket does not reflect notice of her
 8             appearance.
 9          4. The settling parties require additional time to consummate the conditions
10             of the settlement before they are prepared to file a stipulation for dismissal
11             of the entire action as between the settling parties. Under the agreement
12             reached, the following conditions must be fulfilled:
13                a. Obtain approval by the City of Orange’s city council.
14                b. The minor Plaintiffs will submit an application for court approval
15                   of the compromise of their claims.
16                c. In an effort to resolve the claims between Plaintiff Monique Perez
17                   and Defendants, the Defendants intend to file a motion for summary
18                   judgment as to her claims.
19                d. Last, the Court must dismiss Plaintiff Monique Perez’s claims and
20                   her right to appeal expire prior to the City issuing payment to the
21                   Plaintiffs.
22          5. Once all the appropriate approvals and signatures have been obtained, a
23             stipulation for dismissal of the entire action will be filed with the Court.
24          6. Accordingly, the Parties request that the Court take the above into
25             consideration and vacate the remaining dates between the settling parties,
26             including the Final Pretrial Conference, set for June 17, 2019.
27    ///
28    ///

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                      JOINT NOTICE OF CONDITIONAL SETTLEMENT
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 1    Pursuant to Local Rule 5-4.3.4(a)(2)(i), the filers of this report attest that all other
 2    signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
 3    content and have authorized the filing.
 4
      Dated: March 25, 2019            PEREIRA LAW
 5

 6
                                       By:    /s/ Christian F. Pereira
                                       CHRISTIAN F. PEREIRA
 7                                     Attorneys for Plaintiffs M.A.P. and JESUZ
 8
                                       RAMIREZ

 9

10    Dated: March 25, 2019            CASILLAS & ASSOCIATES

11                                     By:    /s/ Arnoldo Casillas
12                                     ARNOLDO CASILLAS
                                       Attorneys for Plaintiffs,
13                                     ERIKA EDITH PEREZ, Del.P., Da.P., Div.P., and
14                                     D.M.

15    Dated: March 25, 2019            WOODRUFF, SPRADLIN & SMART, APC
16
                                       By:    /s/ Daniel K. Spradlin
17                                     DANIEL K. SPRADLIN
18                                     ROBERTA A. KRAUS
                                       Attorneys for Defendants CITY OF
19                                     ORANGE, a public entity, THOMAS
20                                     KISELA and CARLOS GUTIERREZ, as
                                       employees of CITY OF ORANGE
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                       JOINT NOTICE OF CONDITIONAL SETTLEMENT
